                  Case 2:07-cr-00304-KJM
                                   UNITED Document 144 Filed
                                          STATES DISTRICT    05/16/12 Page 1 of 2
                                                          COURT
                                        EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )                     Case No. 2:07-cr-00304 KJM
                v.                            )
                                              )
Richard PRIETO, et al.,                       )
                                              )
       Defendants.                            )
_____________________________________________ )

                               APPLICATION FOR WRIT OF HABEAS CORPUS
        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               ( ) Ad Testificandum

Name of Detainee:                RICHARD PRIETO, CDC No. AL1651
Detained at (custodian):         Deuel Vocational Institution (“DVI”) Litigation Coordinator
                                 P.O. Box 400
                                 Tracy, California 95378-0400

Detainee is:               a.)   (X) charged in this district by:   (X) Indictment ( ) Information
                                                                    () Petition for Supervised Release Violations

Detainee will:             a.)   (_) return to the custody of detaining facility upon termination of proceedings
                 or        b.)   (X) be retained in federal custody until final disposition of federal charges.

         Appearance forthwith is necessary in the Eastern District of California for arraignment on federal drug
trafficking indictment.

                                 Signature:                         /s/ Jason Hitt
                                 Printed Name & Phone No:           Jason Hitt 916-554-2751
                                 Attorney of Record for:            United States of America

                                             WRIT OF HABEAS CORPUS
                           (X) Ad Prosequendum                 (_) Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal’s Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.



Date: May 15, 2012.
                                                                        UNITED STATES DISTRICT JUDGE

_______________________________________________________________________________________________
Booking or CDC #:           Richard PRIETO, CDC No. AL1651                  X Male Female
Facility Address:           Deuel Vocational Institution (“DVI”) Litigation Coordinator
                            P.O. Box 400
                            Tracy, California 95378-0400
Facility Phone:             209-835-4141 ext. 6228
Currently Incarcerated For: State murder conviction
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_________________________________________________________________________________________________
                                             RETURN OF SERVICE


Executed on   ____________________________              By: ___________________________________________________
                                                            (Signature)
